                                                                                                                                                 11/11/19 2:53PM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF ARIZONA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                HOTEL OXYGEN MIDTOWN, I, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  20860 N. TATUM BLVD, STE 240
                                  Phoenix, AZ 85050
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Maricopa                                                        Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  3600 N 2ND AVENUE Phoenix, AZ 85013
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https:/www.wyndhamhotels.com/wyndham-garden/phoenix-arizona


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    HOTEL OXYGEN MIDTOWN, I, LLC                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7011

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




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Debtor   HOTEL OXYGEN MIDTOWN, I, LLC                                                              Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    HOTEL OXYGEN MIDTOWN, I, LLC                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 12, 2019
                                                  MM / DD / YYYY


                             X   /s/ DAVID VALADE                                                         DAVID VALADE
                                 Signature of authorized representative of debtor                         Printed name


                                                                                                          Email Address of debtor
                                 Title   CHIEF FINANCIAL OFFICER




18. Signature of attorney    X   /s/ D. LAMAR HAWKINS                                                      Date November 12, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 D. LAMAR HAWKINS
                                 Printed name

                                 Guidant Law, PLC
                                 Firm name

                                 402 E. Southern Ave
                                 Tempe, AZ 85282
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     602-888-9229                  Email address      cindy@guidant.law

                                 013251 AZ
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name HOTEL OXYGEN MIDTOWN, I, LLC
 United States Bankruptcy Court for the: DISTRICT OF ARIZONA                                                                                          Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 APS                                                             BUSINESS DEBT                                                                                            $27,969.07
 P.O. BOX 2906
 Phoenix, AZ 85062
 BOOKING.COM                                                     BUSINESS DEBT                                                                                              $2,270.45
 P.O. BIX 1639
 1000 BP
 AMSTERDAM, THE
 NETHERLANDS
 CITY OF PHOENIX                                                 BUSINESS DEBT                                                                                              $9,178.16
 CITY SERVICES
 P.O. BOX 29100
 Phoenix, AZ 85038
 CONNECTED                                                       BUSINESS DEBT                                                                                              $3,598.46
 RESTORATION, LLC
 48335 E. INDIGO
 STREET STE 103
 Mesa, AZ 85205
 COX BUSINESS                                                    BUSINESS DEBT                                                                                              $6,338.90
 P.O. BOX 53249
 Phoenix, AZ
 85072-3249
 CREATIVE                                                        BUSINESS DEBT                                                                                            $27,225.00
 BUILDERS,
 6820 Latijera Blvd
 Ste 111
 Los Angeles, CA
 90045
 ECOLAB                                                          BUSINESS DEBT                                                                                              $6,213.96
 P.O. BOX 100512
 Pasadena, CA 91189
 EXPEDIA                                                         BUSINESS DEBT                                                                                                $957.94

 GUEST SUPPLY                                                    BUSINESS DEBT                                                                                              $2,422.23
 P.O. BOX 6771
 Somerset, NJ
 08875-6771



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 HD SUPPLY                                                       BUSINESS DEBT                                                                                            $10,927.37
 P.O. BOX 509058
 San Diego, CA
 92150-9050
 HSK, S LLC                                                      BUSINESS DEBT                                                                                              $7,985.19
 P.O. BOX 134
 Glendale, AZ 85311
 M & C HOSPITALITY                                               BUSINESS DEBT                                                                                              $3,902.19
 SERVICES LLC
 1311 W. INDIAN
 SCHOOL RD
 Phoenix, AZ 85013
 Melzer, Decker &                                                BUSINESS DEBT                                                                                            $71,700.00
 Ruder
 9511 Irvine Center
 Drive
 Irvine, CA 92618
 NV DISTRIBUTION,                                                BUSINESS DEBT                                                                                              $4,925.69
 LLC
 928 E. JAVELINA
 Mesa, AZ 85204
 SOUTHWEST GAS                                                   BUSINESS DEBT                                                                                                $750.92
 CORPORATION
 P.O. BOX 9890
 Las Vegas, NV
 89193
 SYSCO ARIZONA                                                   BUSINESS DEBT                                                                                              $1,230.75
 611 S. 80TH
 AVENUE
 Tolleson, AZ
 85353-4025
 TALISKER SECOND                                                 BUSINESS DEBT                                                                                            $62,769.98
 OSBORNE, LLC
 145 ADELAIDE
 STREET WEST
 ONTARIO CANADA
 M5H4E5
 TRAVELCLICK                                                     BUSINESS DEBT                                                                                              $2,535.58
 P.O. BOX 71199
 Chicago, IL
 60694-1199
 WASTE                                                           BUSINESS DEBT                                                                                              $1,815.73
 MANAGMENT
 PHOENIX HAULING
 P.O. BOX 7400
 Pasadena, CA
 91109-7409
 WYNPAY                                                          BUSINESS DEBT                                                                                          $118,551.00
 WYNDHAM HOTELS
 AND RESORTS
 722 SYLVAN WAY
 Parsippany, NJ
 07054

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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ADVANCED NETWORK SERVICE
3514 N. POWER RD, STE 133
MESA AZ 85215


ANDATO ANALYTICAL DATA
14829 N. 54TH PLACE
SCOTTSDALE AZ 85254


APOLLO SECURITY GROUP, INC
PO. BOX 35398
PHOENIX AZ 85069


APS
P.O. BOX 2906
PHOENIX AZ 85062


ARIZONA BILTMORE
ATTN ALEXIS GROFF
2400 E. MISSOURI
PHOENIX AZ 85016


ARMOR PLUMBING
330 E. CHILTON DRIVE
CHANDLER AZ 85225


AZ PRO POOL SERVICE
CHANDLER AZ 85225



BOOKING.COM
P.O. BIX 1639
1000 BP AMSTERDAM, THE NETHERLANDS


CENTRIC ELEVATOR COPRPORATION
5249 S. 28TH PLACE
PHOENIX AZ 85040


CHECKER POOL SUPPLY
2815 E. INDIAN SCHOOL RD.
PHOENIX AZ 85016


CITY OF PHOENIX
PLANNING & DEVELOPMENT
P.O. BOX 29103
PHOENIX AZ 85038

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CITY OF PHOENIX CITY SERVICES
P.O. BOX 29100
PHOENIX AZ 85038


CLAREMONT LAND GROUP, LLC
5861 PINE AVE. STE A-1
CHINO HILLS CA 91709


COMPLETE POOL CARE INC
P.O. BOX 12845
SCOTTSDALE AZ 85267-2840


CONNECTED RESTORATION, LLC
48335 E. INDIGO STREET STE 103
MESA AZ 85205


CORK & BOTTLE
4101 E. MCDOWELL RD
PHOENIX AZ 85008


COX BUSINESS
P.O. BOX 53249
PHOENIX AZ 85072-3249


CREATIVE BUILDERS,
6820 LATIJERA BLVD STE 111
LOS ANGELES CA 90045


CULLIGAN WATER OF PHOENIX
5410 S. 28TH
PHOENIX AZ 85040


DNA AIR CONDITIONING, LLC
2733 N. POWER RD, STE 102
BOX 163
MESA AZ 85215


ECOLAB
P.O. BOX 100512
PASADENA CA 91189


ELIZABETH PETERSON
1430 E. BRILL STREET
PHOENIX AZ 85006


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EXPEDIA



FAIRFIELD BY MARRIOTT PHOENIX
2520 N. CENTRAL AVENUE
PHOENIX AZ 85004


FRANCISCO MERCADO
6112 N. 64TH AVENUE
GLENDALE AZ 85301


GIBRALTAR/SUNSHINE, LLC
C/O GIBRALTAR 1031 LLC
509 E. MONTECITO, 2ND FLOOR
SANTA BARBARA CA 93103


GOLDEN MALTED
P.O. BOX 129
CONCORDVILLE PA 19331


GREATER PHOENIX CHAMBER OF COMMERCE
201 N; CENTRAL AVENUE, STE 2700
PHOENIX AZ 85004


GUEST SUPPLY
P.O. BOX 6771
SOMERSET NJ 08875-6771


HANDY MANNY
11934 PALO VERDE RD
EL MIRAGE AZ 85335


HD SUPPLY
P.O. BOX 509058
SAN DIEGO CA 92150-9050


HSK, S LLC
P.O. BOX 134
GLENDALE AZ 85311


IMPRINT PLUS USA
RICHAMOND, BC V6W 1J8 C




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INROOM CONNECTIONS
HNG BUSINESS & TECHNO
587 W. EAKU GALLIE BLVD, #10
MELBOURNE FL 32935


ITZEL GALLARDO
2431 S. DEVONNA LANE
TOLLESON AZ 85353-4025


JOSEPH A VELEZ
7272 E. INDIAN SCHOOL RD, STE 111
SCOTTSDALE AZ 85251


LESLIE'S POOLMART
P.O. BOX 501162
SAINT LOUIS MO 63150-1100


M & C HOSPITALITY SERVICES LLC
1311 W. INDIAN SCHOOL RD
PHOENIX AZ 85013


MARICOPA COUNTY TREASURER'S OFFICE
P.O. BOX 51233
PHOENIX AZ 85072


MARICOPA CTY ENVIRONMENTAL
501 N. 44TH STREET
PHOENIX AZ 85008


MELZER, DECKER & RUDER
9511 IRVINE CENTER DRIVE
IRVINE CA 92618


NEXT PROTECTION
1465 N. HAYDEN RD, STE 1
SCOTTSDALE AZ 85257


NOBLE BREAD
3722 E. KRISTAL WAY
PHOENIX AZ 85050


NV DISTRIBUTION, LLC
928 E. JAVELINA
MESA AZ 85204


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P.E.S. SECURITY
2011 E. 5TH ST. #5
TEMPE AZ 85281


PARTY PEOPLE
5740 N. 7TH STREET
PHOENIX AZ 85014


POUR MASTERS, INC
3229 W CARAVAGGIO LANE
PHOENIX AZ 85086


PRIME PEST SOLUTIONS
4048 W. CORRINE
PHOENIX AZ 85029


PROLINE INDUSTRIAL PRODUCTS
P.O. BOX 401
DIXON CA 95620


R & G VENT CLEANING
P.O. BOX 1954
GILBERT AZ 85299


RAMADA PHOENIX DOWNTOWN
212 W. OSBORNE RD
PHOENIX AZ 85013


RESECO INSURANCE ADVISORS
7901 N. 16TH STREET, STE 100
PHOENIX AZ 85020


RESTAURANT EQUIPMENT
2922 E. MCDOWELL RD
PHOENIX AZ 85008


ROTO ROOTER
7250 W. FRIER DRIVE
GLENDALE AZ 85303


SOUTHWEST GAS CORPORATION
P.O. BOX 9890
LAS VEGAS NV 89193



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SOUTHWEST GLASSWARE
75221 N EB 1-10 FRONTAGE RD.
TUCSON AZ 85743


SPECIALTY TEXTILE SERVICES
737 W. BUCHANAN
PHOENIX AZ 85007


SYSCO ARIZONA
611 S. 80TH AVENUE
TOLLESON AZ 85353-4025


TALISKER SECOND OSBORNE, LLC
145 ADELAIDE STREET WEST
ONTARIO CANADA M5H4E5


TRAVELCLICK
P.O. BOX 71199
CHICAGO IL 60694-1199


VERA RODRIGUEZ
CARLOS VERA RODRIGUEZ
5421 W. INDIAN SCHOOL RD
PHOENIX AZ 85031


VISIT PHOENIX
400 E. VAN BUREN ST, STE 600
PHOENIX AZ 85004


WASTE MANAGMENT
PHOENIX HAULING
P.O. BOX 7400
PASADENA CA 91109-7409


WATERMARK SOLUTIONS CORP
4855 W. MCDOWELL RD, STE 140B
PHOENIX AZ 85035


WM SYMPOSIA
P.O. BOX 27646
TEMPE AZ 85282


WYNDHAM FRANCHISOR, LLC
16574 COLLECTIONS CENTER DRIVE
CHICAGO IL 60693-3000

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WYNPAY
WYNDHAM HOTELS AND RESORTS
722 SYLVAN WAY
PARSIPPANY NJ 07054




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                                                               United States Bankruptcy Court
                                                                        District of Arizona
 In re      HOTEL OXYGEN MIDTOWN, I, LLC                                                            Case No.
                                                                                 Debtor(s)          Chapter     11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for HOTEL OXYGEN MIDTOWN, I, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 November 12, 2019                                                   /s/ D. LAMAR HAWKINS
 Date                                                                D. LAMAR HAWKINS
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for HOTEL OXYGEN MIDTOWN, I, LLC
                                                                     Guidant Law, PLC
                                                                     402 E. Southern Ave
                                                                     Tempe, AZ 85282
                                                                     602-888-9229
                                                                     cindy@guidant.law




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